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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


 Richard W. DeOtte, Yvette DeOtte,
 John Kelley, Alison Kelley, on behalf
 of themselves and others similarly
 situated; Hotze Health & Wellness
 Center, on behalf of itself and others
 similarly situated,

                        Plaintiffs,
                                               Case No. 4:18-cv-825
 v.

 Alex M. Azar II, in his official capacity
 as Secretary of Health and Human
 Services; Steven T. Mnuchin, in his
 official capacity as Secretary of the
 Treasury; R. Alexander Acosta, in his
 official capacity as Secretary of Labor;
 United States of America,

                        Defendants.


               PLAINTIFFS’ CLASS-ACTION COMPLAINT
      Federal regulations require health insurance to cover all FDA-approved contra-
ceptive methods. See 45 C.F.R. § 147.130(a)(1)(iv); 29 C.F.R. § 2590.715–
2713(a)(1)(iv); 26 C.F.R. § 54.9815-2713T. These agency rules violate the Religious

Freedom Restoration Act because they substantially burden those who object to con-
traception and abortifacients on religious grounds.

                         JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
      2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).


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                                      PARTIES
    3.   Plaintiff Richard W. DeOtte resides in Tarrant County, Texas.
    4.   Plaintiff Yvette DeOtte resides in Tarrant County, Texas.

    5.   Plaintiff John Kelley resides in Tarrant County, Texas.
    6.   Plaintiff Alison Kelley resides in Tarrant County, Texas.
    7.   Plaintiff Hotze Health & Wellness Center is a for-profit business incorpo-
rated under the laws of Texas.
    8.   Defendant Alex M. Azar II is the U.S. Secretary of Health and Human Ser-
vices. His office is located at 200 Independence Avenue SW, Washington, D.C.
20201. Secretary Azar is sued in his official capacity.
    9.   Defendant Steven T. Mnuchin is the U.S. Secretary of the Treasury. His of-
fice is located at 1500 Pennsylvania Avenue, NW, Washington, D.C. 20220. Secretary
Mnuchin is sued in his official capacity.
    10. Defendant R. Alexander Acosta is the U.S. Secretary of Labor. His office is
located at 200 Constitution Avenue, NW, Washington, D.C. 20210. Secretary Acosta
is sued in his official capacity.

    11. Defendant United States of America is the federal government of the United
States of America.

                     THE CONTRACEPTIVE MANDATE
    12. The Affordable Care Act requires group health plans and health insurance
issuers to cover “preventive care” for women without any cost-sharing requirements
such as deductibles or co-pays. See 42 U.S.C. § 300gg–13(a)(4) (attached as Exhibit
1). The statute empowers the Health Resources and Services Administration to de-
termine the “preventive care” that health insurance plans must cover. See id.
    13. In 2011, the Health Resources and Services Administration decided that all
FDA-approved contraceptive methods must be covered as “preventive care” under the
Affordable Care Act. This “Contraceptive Mandate” is codified at 45 C.F.R.


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§ 147.130(a)(1)(iv), 29 C.F.R. § 2590.715–2713(a)(1)(iv), and 26 C.F.R.
§ 54.9815–2713T(a)(1)(iv) (attached as Exhibits 2–4).

    14. The Contraceptive Mandate exempts church employers. See 78 Fed. Reg.
39870, 39,896 (July 2, 2013) (attached as Exhibit 5).
    15. The Contraceptive Mandate also exempts the “grandfathered” plans that
are protected under section 1251 of the Affordable Care Act. See 29 C.F.R.
§ 2590.715–1251.
    16. The Contraceptive Mandate also offers an accommodation to religious
non-profits who object to covering contraception for sincere religious reasons.
See 78 Fed. Reg. 39870, 39896–97 (July 2, 2013) (describing provisions that were
formerly codified at 45 CFR § 147.131(c)) (attached as Exhibit 5). An entity of this
sort must first certify that it is a religious non-profit that objects to covering some or
all methods of contraception on religious grounds. See id. at 39896 (describing pro-
visions that were formerly codified at 45 CFR § 147.131(b)). Then the issuer of the
group health insurance used by the religious non-profit must exclude contraceptive
coverage from that employer’s plan, but the issuer must pay for any contraception
used by the non-profit’s employees. See id. (describing provisions that were formerly
codified at 45 CFR § 147.131(c)). The issuer may not shift any of those costs on to
the religious non-profit, its insurance plan, or its employee beneficiaries. See id.
    17. If a religious non-profit is self-insured, then its third-party administrator
must pay for the employees’ contraception, without shifting any costs on to the reli-

gious non-profit, its insurance plan, or its employee beneficiaries. See 78 Fed. Reg.
39870, 39893 (July 2, 2013) (describing provisions that were formerly codified at 26
CFR § 54.9815– 2713A(b)(2)) (attached as Exhibit 5).
    18. In Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2798 (2014), the
Supreme Court held that the Contraceptive Mandate violated the Religious Freedom



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Restoration as applied to closely held, for-profit corporations that oppose the cover-
age of contraception for sincere religious reasons.

    19. In Wheaton College v. Burwell, 134 S. Ct. 2806 (2014), the Supreme Court
enjoined federal officials from requiring a religious non-profit to directly notify its
health insurance issuers or third-party administrators about its religious objections to
the Contraceptive Mandate.
    20. In response to Hobby Lobby and Wheaton College, the Obama Administration
amended the Contraceptive Mandate in two ways. First, it allowed closely held for-
profit corporations to use the accommodation offered to religious non-profits. See
80 Fed. Reg. 41318, 41346 (July 14, 2015) (describing provisions formerly codified
at 45 C.F.R. § 147.131(b)) (attached as Exhibit 6); id. at 41345 (describing provi-
sions formerly codified at 29 C.F.R. § 2590.715–2713A(a)); id. at 41343 (describing
provisions formerly codified at 26 C.F.R. § 54.9815–2713A(a)). Second, it allowed
employers seeking this accommodation to choose whether to directly notify their
health insurance issuers or third-party administrators — or whether to notify the Sec-
retary of Health or Human Services, who would then inform the health insurance
issuers or third-party administrators of the employer’s religious objections and of their
need to pay for the contraception of the affected employees. See 80 Fed. Reg. 41318,
41346 (July 14, 2015) (describing provisions formerly codified at 45 C.F.R.
§ 147.131(b)(3)); id. at 41345 (describing provisions formerly codified at 29 C.F.R.
§ 2590.715–2713A(a)(3)); id. at 41344 (describing provisions formerly codified at

26 C.F.R. § 54.9815–2713A(b)(ii)). Under the previous version of Contraceptive
Mandate, objecting religious non-profits were compelled to directly notify their health
insurance issuers or third-party administrators, and some objected to this requirement
on the ground that it made them complicit in the eventual provision of abortifacient
contraception. See, e.g., Wheaton College, 134 S. Ct. 2806.



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    21. On May 4, 2017, President Trump issued an executive order instructing the
Secretary of the Treasury, the Secretary of Labor, and the Secretary of Health and

Human Services to amend the Contraceptive Mandate to address conscience-based
objections. See Executive Order 13798 (attached as Exhibit 7).
    22. In response to this order, the Department of the Treasury, the Department
of Labor, and the Department of Health and Human Services issued an interim final
rule that exempts any non-profit or for-profit entity from the Contraceptive Mandate
if it opposes the coverage of contraception for sincere religious reasons. See 82 Fed.
Reg. 47792 (October 13, 2017) (attached as Exhibit 8).
    23. Under the Trump Administration’s interim final rule, religious objectors are
no longer required to use the accommodation process that requires an objector’s
health insurance issuer or third-party administrator to pay for employees’ contracep-
tion. Id. at 47835 (codified at 45 C.F.R. § 147.132(a)). And there is no longer any
requirement that religious objectors notify the government or take any steps that
would make them complicit in the provision of abortifacient contraception. Id. at
47835 (codified at 45 C.F.R. § 147.132(a)(2)).
    24. The interim final rule also accommodated individuals who object to the cov-
erage of contraception in their health insurance. See id. at 47835 (creating a new
provision in 45 C.F.R. § 147.132(b)). Under the Obama-era Contraceptive Mandate,
individual religious objectors were forced to choose between purchasing health insur-
ance that covers contraception or forgoing health insurance entirely — unless they ob-

tained insurance through a religious employer that was exempt from Contraceptive
Mandate. The interim final rule ensured that individual religious objectors would have
the option to purchase health insurance that excludes contraception from any willing
health insurance issuer.




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    25. The Departments also issued a separate interim final rule that provides sim-
ilar accommodations for entities and individuals who oppose the coverage of contra-

ception for non-religious moral reasons. See 82 Fed. Reg. 47838 (October 13, 2017)
(attached as Exhibit 9).
    26. Several states challenged the Trump Administration’s accommodation of re-
ligious objectors. In Pennsylvania v. Trump, 281 F. Supp. 3d 553 (E.D. Pa. 2017), a
federal district court issued a nationwide preliminary injunction against each of the
interim final rules. In California v. Health and Human Services, 281 F. Supp. 3d 806
(N.D. Cal. 2017), a different federal district issued a second nationwide preliminary
injunction against the interim final rules.
    27. As a result of these injunctions, the Obama-era Contraceptive Mandate re-
mains in place, which compels religious employers and individual insurance benefi-
ciaries to become complicit in the provision of abortifacient contraception.

    STATEMENT OF THE CLAIM — INDIVIDUAL PLAINTIFFS
    28. Plaintiffs Richard and Yvette DeOtte and plaintiffs John and Alison Kelley
are Christians who believe that life begins at conception, and that all human life is
sacred from conception until natural death.
    29. Because of their religious beliefs, the DeOttes and the Kelleys regard the use
of abortifacient contraception as morally equivalent to abortion.
    30. Although neither the DeOttes nor the Kelleys oppose the use of non-abor-
tifacient contraception by married couples to prevent pregnancy, they object to the
Contraceptive Mandate’s requirement that insurers pay for non-abortifacient contra-
ception because it encourages illicit sexual activity outside of marriage and forces other
insurance beneficiaries to subsidize it.
    31. Mr. Kelley and Mr. DeOtte are self-employed and responsible for purchas-
ing their own health insurance for themselves and their families.



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       32. The Contraceptive Mandate violates the Religious Freedom Restoration
Act, because it forces religious believers to choose between purchasing health insur-

ance that makes them complicit in abortifacient contraception and sexual activity out-
side of marriage, or forgoing health insurance entirely. That is a substantial burden
on the exercise of their religion. Cf. Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct.
2751, 2770 (2014).
       33. There is no compelling governmental interest in requiring religious believers
to subsidize other people’s contraception as a condition of purchasing health insur-
ance.
       34. Even if one were to assume that the government has a compelling interest
in ensuring that women can access contraception at zero marginal cost, there are other
ways for the government to achieve that goal without burdening the religious freedom
of those who object to abortifacient contraception and sexual activity outside of mar-
riage on religious grounds.
       35. The plaintiffs sue as representatives of a class of all religious believers in the
United States who object to abortifacient contraception and sexual activity outside of
marriage on religious grounds.

                     STATEMENT OF THE CLAIM —
                  HOTZE HEALTH & WELLNESS CENTER
       36. The Hotze Health & Wellness Center is a Christian-owned business incor-
porated under the laws of Texas. It has approximately 75 employees. The Hotze
Health & Wellness Center is self-insured and provides health insurance to its employ-
ees.
       37. Dr. Steven F. Hotze is the founder and CEO of the Hotze Health & Well-
ness Center.
       38. Dr. Hotze is a Christian, and he operates his business according to Christian
principles and teaching.


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    39. Dr. Hotze believes that life begins at conception, and that the use of abor-
tifacient contraception is tantamount to abortion. Dr. Hotze’s beliefs on this matter

are rooted in his Christian faith, which teaches that all human life is sacred from con-
ception until natural death.
    40. Dr. Hotze also believes that the Bible is the Word of God, and the Bible
teaches that any form of sexual relations outside of marriage between a man and a
woman is sinful.
    41. Although Dr. Hotze’s Christian beliefs do not oppose the use of non-abor-
tifacient contraception by married couples to prevent pregnancy, Dr. Hotze never-
theless objects to the Contraceptive Mandate’s requirement that he provide non-abor-
tifacient contraception to his employees at zero marginal cost because it encourages
illicit sexual activity outside of marriage.
    42. The Contraceptive Mandate violates the Religious Freedom Restoration
Act, because it forces the Hotze Health and Wellness Center to become complicit in
the provision of abortifacient contraception. It also forces the company to become
complicit in the provision of non-abortifacient contraception which is often (though
not always) used to facilitate illicit sexual activity outside of marriage. Under the Con-
traceptive Mandate, the Hotze Health and Wellness Center must either provide con-
traception to its employees, or become complicit in the provision of contraception by
others. That is a substantial burden on the exercise of its religion. See Burwell v. Hobby
Lobby Stores, Inc., 134 S. Ct. 2751, 2775–79 (2014).

    43. There is no compelling governmental interest in forcing the Hotze Health
& Wellness Center and other Christian businesses to become complicit in the provi-
sion of contraception.
    44. The Hotze Health & Wellness Center sues as representative of a class of all
closely held for-profit corporations in the United States that oppose the Contraceptive
Mandate for sincere religious reasons.

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                            CAUSES OF ACTION
    45. The plaintiffs are suing under the Religious Freedom Restoration Act and
the Administrative Procedure Act, each of which supplies a cause of action for the

claims that they are asserting. See 42 U.S.C. 2000bb-1(c); 5 U.S.C. § 702.

                           DEMAND FOR RELIEF
    46. The plaintiffs respectfully request that the court:
        a.     certify a class of all individuals in the United States who oppose the
               Contraceptive Mandate for sincere religious reasons;
        b.     certify a separate class of all businesses in the United States that op-
               pose the Contraceptive Mandate for sincere religious reasons;
        c.     declare that the Contraceptive Mandate violates the plaintiffs’ rights
               under the Religious Freedom Restoration Act;
        d.     hold unlawful and set aside any agency action that seeks to enforce
               the Contraceptive Mandate without adequately accommodating the
               rights of religious objectors under the Religious Freedom Restoration
               Act;
        e.     permanently enjoin the defendants from enforcing the Contraceptive
               Mandate;
        f.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        g.     award all other relief that the Court may deem just, proper, or equi-
               table.




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                                     Respectfully submitted.

                                      /s/ Jonathan F. Mitchell
 Charles W. Fillmore                 Jonathan F. Mitchell
 H. Dustin Fillmore                  Texas Bar No. 24075463
 The Fillmore Law Firm, L.L.P.       Mitchell Law PLLC
 1200 Summit Avenue, Suite 860       106 East Sixth Street, Suite 900
 Fort Worth, Texas 76102             Austin, Texas 78701
 (817) 332-2351 (phone)              (512) 686-3940 (phone)
 (817) 870-1859 (fax)                (512) 686-3941 (fax)
 chad@fillmorefirm.com               jonathan@mitchell.law
 dusty@fillmorefirm.com
                                     Counsel for Plaintiffs and
 Dated: October 6, 2018              the Proposed Classes




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